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                                                                          6                            IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   CARLA ECHAVARRIA, et al.,                                       No. C 18-05982 WHA
                                                                         11
United States District Court




                                                                                             Plaintiffs,
                                                                                                                                              NOTICE AND ORDER RE
                               For the Northern District of California




                                                                         12     v.                                                            PUTATIVE CLASS
                                                                         13                                                                   ACTIONS AND FACTORS
                                                                              FACEBOOK, INC.,                                                 TO BE EVALUATED
                                                                         14                                                                   FOR ANY PROPOSED
                                                                                             Defendant.                                       CLASS SETTLEMENT
                                                                         15
                                                                         16                                                /

                                                                         17          It has become a recurring problem in putative class actions that one or both sides may
                                                                         18   wish to interview absent putative class members regarding the merits of the case, potentially
                                                                         19   giving rise to conflict-of-interest or other ethical issues. To get ahead of this problem, the
                                                                         20   undersigned judge requires both sides to MEET AND CONFER and agree on a detailed proposed
                                                                         21   protocol for interviewing absent putative class members. In their joint case management
                                                                         22   statement due at the outset of the case, the parties shall either describe their agreed-upon
                                                                         23   protocol or explain why no such protocol is necessary in their particular case. No interviews of
                                                                         24   absent putative class members may take place unless and until the undersigned judge has
                                                                         25   reviewed and approved the parties’ proposed protocol, or has agreed that no such protocol is
                                                                         26   necessary.
                                                                         27                                   *                 *                *
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                                                                          1          For the guidance of counsel, please review the Procedural Guidance for Class Action
                                                                          2   Settlements, which is available on the website for the United States District Court for the
                                                                          3   Northern District of California at www.cand.uscourts.gov/ClassActionSettlementGuidance.
                                                                          4          In addition, counsel should review the following substantive and timing factors that the
                                                                          5   undersigned judge will consider in determining whether to grant preliminary and/or final
                                                                          6   approval to a proposed class settlement. Many of these factors have already been set forth in
                                                                          7   In re Bluetooth Headset Products Liability Litigation, 654 F.3d 935, 946–47 (9th Cir. 2011), but
                                                                          8   the following discussion further illustrates the undersigned judge’s consideration of such factors:
                                                                          9          1.      ADEQUACY OF REPRESENTATION.
                                                                         10          Anyone seeking to represent a class, including a settlement class, must affirmatively meet
                                                                         11   the Rule 23 standards, including adequacy. It will not be enough for a defendant to stipulate to
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                                                                         12   adequacy of the class representation (because a defendant cannot speak for absent class
                                                                         13   members). An affirmative showing of adequacy must be made in a sworn record. Any possible
                                                                         14   shortcomings in a plaintiff’s resume, such as a conflict of interest, a criminal conviction, a prior
                                                                         15   history of litigiousness, and/or a prior history with counsel, must be disclosed. Adequacy of
                                                                         16   counsel is not a substitute for adequacy of the representative.
                                                                         17          2.      DUE DILIGENCE.
                                                                         18          Please remember that when one undertakes to act as a fiduciary on behalf of others (here,
                                                                         19   the absent class members), one must perform adequate due diligence before acting. This
                                                                         20   requires the representative and his or her counsel to investigate the strengths and weaknesses of
                                                                         21   the case, including the best-case dollar amount of claim relief. A quick deal up front may not be
                                                                         22   fair to absent class members.
                                                                         23          3.      COST-BENEFIT FOR ABSENT CLASS MEMBERS.
                                                                         24          In the proposed class settlement, how do the costs of what absent class members will give
                                                                         25   up compare to the benefits of what they will receive in exchange? If the recovery will be a full
                                                                         26   recovery, then much less will be required to justify the settlement than for a partial recovery, in
                                                                         27   which case the discount will have to be justified. The greater the discount, the greater must be
                                                                         28   the justification. This will require an analysis of the specific proof, such as a synopsis of any


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                                                                          1   conflicting evidence on key fact points. It will also require a final class-wide damage study or a
                                                                          2   very good substitute, in sworn form. If little discovery has been done to see how strong the
                                                                          3   claim is, it will be hard to justify a substantial discount on the mere generalized theory of “risks
                                                                          4   of litigation.” A coupon settlement will rarely be approved. Where there are various subgroups
                                                                          5   within the class, counsel must justify the plan of allocation of the settlement fund.
                                                                          6          4.      THE RELEASE.
                                                                          7          The proposed release should be limited only to the claims certified for class treatment.
                                                                          8   Language releasing claims that “could have been brought” is too vague and overbroad. The
                                                                          9   specific statutory or common law claims to be released should be spelled out. Class counsel
                                                                         10   must justify the release as to each claim released, the probability of winning, and its estimated
                                                                         11   value if fully successful.
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                                                                         12          Does the proposed class settlement contemplate that claims of absent class members will
                                                                         13   be released even for those whose class notice is returned as undeliverable? Usually, the Court
                                                                         14   will not extinguish claims of individuals known to have received no notice or who received no
                                                                         15   benefit (and/or for whom there is no way to send them a settlement check). Put differently,
                                                                         16   usually the release must extend only to those who receive money for the release.
                                                                         17          5.      EXPANSION OF THE CLASS.
                                                                         18          Typically, defendants vigorously oppose class certification and/or argue for a narrow
                                                                         19   class. In settling, however, defendants often seek to expand the class, either geographically
                                                                         20   (i.e., nationwide) or claim-wise (including claims not even in the complaint) or person-wise
                                                                         21   (e.g., multiple new categories). Such expansions will be viewed with suspicion. If an expansion
                                                                         22   is to occur it must come with an adequate plaintiff and one with standing to represent the add-on
                                                                         23   scope and with an amended complaint to include the new claims, not to mention due diligence as
                                                                         24   to the expanded scope. The settlement dollars must be sufficient to cover the old scope plus the
                                                                         25   new scope. Personal and subject-matter jurisdiction over the new individuals to be compromised
                                                                         26   by the class judgment must be shown.
                                                                         27          6.      REVERSION.
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                                                                          1           A proposed class settlement that allows for a reversion of settlement funds to the
                                                                          2   defendant(s) is a red flag, for it runs the risk of an illusory settlement, especially when combined
                                                                          3   with a requirement to submit claims that may lead to a shortfall in claim submissions.
                                                                          4           7.      CLAIM PROCEDURE.
                                                                          5           A settlement that imposes a claim procedure rather than cutting checks to class members
                                                                          6   for the appropriate amount may (or may not) impose too much of a burden on class members,
                                                                          7   especially if the claim procedure is onerous, or the period for submitting is too short, or there is a
                                                                          8   likelihood of class members treating the notice envelope as junk mail. The best approach, when
                                                                          9   feasible, is to calculate settlement checks from a defendant’s records (plus due diligence
                                                                         10   performed by counsel) and to send the checks to the class members along with a notice that
                                                                         11   cashing the checks will be deemed acceptance of the release and all other terms of the
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                                                                         12   settlement.
                                                                         13           8.      ATTORNEY’S FEES.
                                                                         14           To avoid collusive settlements, the Court prefers that all settlements avoid any agreement
                                                                         15   as to attorney’s fees and leave that to the judge. If the defense insists on an overall cap, then
                                                                         16   the Court will decide how much will go to the class and how much will go to counsel, just
                                                                         17   as in common fund cases. Please avoid agreement on any division, tentative or otherwise.
                                                                         18   A settlement whereby the attorney seems likely to obtain funds out of proportion to the benefit
                                                                         19   conferred on the class must be justified.
                                                                         20           9.      DWINDLING OR MINIMAL ASSETS?
                                                                         21           If the defendant is broke or nearly so with no prospect of future rehabilitation, a steeper
                                                                         22   discount may be warranted. This must be proven. Counsel should normally verify a claim of
                                                                         23   poverty via a sworn record, thoroughly vetted.
                                                                         24           10.     TIMING OF PROPOSED SETTLEMENT.
                                                                         25           The parties shall not discuss settlement as to any class claims prior to class certification.
                                                                         26   To elaborate, when a class settlement is proposed prior to formal class certification, there is a
                                                                         27   risk that class claims have been discounted, at least in part, by the risk that class certification
                                                                         28   might be denied. Absent class members, of course, should be subject to normal discounts for


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                                                                          1   risks of litigation on the merits but they should not be subject to a further discount for a risk of
                                                                          2   denial of class certification, such as, for example, a denial based on problems with a proposed
                                                                          3   class representative, including a conflict of interest or a prior criminal conviction. See Howard
                                                                          4   Erichson, Beware The Settlement Class Action, DAILY JOURNAL (Nov. 24, 2014). This is a main
                                                                          5   reason the Court prefers to litigate and vet a class certification motion before any class
                                                                          6   settlement discussions take place. That way, the class certification is a done deal and cannot
                                                                          7   compromise class claims. Only the risks of litigation on the merits can do so.
                                                                          8          In order to have a better record to evaluate the foregoing considerations, it is better to
                                                                          9   develop and to present a proposed compromise after class certification, after diligent discovery
                                                                         10   on the merits, and after the damage study has been finalized. On the other hand, there will be
                                                                         11   some cases in which it will be acceptable to conserve resources and to propose a resolution
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                                                                         12   sooner. For example, if the proposal will provide full recovery (or very close to full recovery)
                                                                         13   then there is little need for more due diligence. The poorer the settlement, however, the more
                                                                         14   justification will be needed and that usually translates to more discovery and more due diligence;
                                                                         15   otherwise, it is best to let absent class members keep their own claims and fend for themselves
                                                                         16   rather than foist a poor settlement on them. Particularly when counsel propose to compromise
                                                                         17   the potential claims of absent class members in a low-percentage recovery, the Court will insist
                                                                         18   on a detailed explanation of why the case has turned so weak, an explanation that usually must
                                                                         19   flow from discovery and due diligence, not merely generalized “risks of litigation.” Counsel
                                                                         20   should remember that merely filing a putative class complaint does not authorize them to
                                                                         21   extinguish the rights of absent class members. If counsel believe settlement discussions should
                                                                         22   precede a class certification, a motion for appointment of interim class counsel must first
                                                                         23   be made. “[S]ettlement approval that takes place prior to formal class certification requires a
                                                                         24   higher standard of fairness.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998).
                                                                         25          11.     A RIGHT TO OPT OUT IS NOT A CURE-ALL.
                                                                         26          A borderline settlement proposal cannot be justified merely because absent class
                                                                         27   members may opt out if they wish. The Court has (and counsel have) an independent, stand-
                                                                         28   alone duty to assess whether the proposed class settlement is reasonable and adequate. Once the


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                                                                          1   named parties reach a settlement in a purported class action, they are always solidly in favor of
                                                                          2   their own proposal. There is no advocate to critique the proposal on behalf of absent class
                                                                          3   members. That is one reason that Rule 23(e) insists that the district court vet all
                                                                          4   class settlements.
                                                                          5          12.     INCENTIVE PAYMENT.
                                                                          6          If the proposed class settlement by itself is not good enough for the named plaintiff, why
                                                                          7   should it be good enough for absent class members similarly situated? Class litigation proceeded
                                                                          8   well for many decades before the advent of requests for “incentive payments,” which too
                                                                          9   often are simply ways to make a collusive or poor settlement palatable to the named plaintiff.
                                                                         10   A request for an incentive payment is a red flag.
                                                                         11          13.     NOTICE TO CLASS MEMBERS.
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                                                                         12          Is the notice in plain English, plain Spanish, and/or plain Chinese (or the appropriate
                                                                         13   language)? Does it plainly lay out the salient points, which are mainly the foregoing points in
                                                                         14   this memorandum? Will the method of notice distribution really reach every class member?
                                                                         15   Will it likely be opened or tossed as junk mail? How can the envelope design enhance the
                                                                         16   chance of opening? Can mail notice be supplemented by e-mail notice?
                                                                         17                                   *                *                 *
                                                                         18          Counsel will please see from the foregoing that the main focus will be on what is in the
                                                                         19   best interest of absent class members. Counsel should be mindful of the factors identified in In
                                                                         20   re Bluetooth, 654 F.3d at 946–47, as well as the fairness considerations detailed in Hanlon,
                                                                         21   150 F.3d at 1026. Finally, for an order denying proposed preliminary approval based on many of
                                                                         22   the foregoing considerations, see Kakani v. Oracle Corp., No. C 06-06493 WHA, 2007 WL
                                                                         23   1793774 (N.D. Cal. June 19, 2007).
                                                                         24
                                                                         25          IT IS SO ORDERED.
                                                                         26
                                                                         27   Dated: October 24, 2018.
                                                                                                                                   WILLIAM ALSUP
                                                                         28                                                        UNITED STATES DISTRICT JUDGE

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